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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                         NORTHERN DIVISION

DONALD FAULKNER                                                         PLAINTIFF
#7406

v.                         No: 3:22-cv-00313 DPM-PSH


DOES                                                               DEFENDANTS


          INITIAL ORDER FOR PRO SE PRISONER PLAINTIFFS

      You have filed this federal civil rights lawsuit pro se, that is, without the help

of a lawyer. There are rules and procedures that you must follow in order to proceed

with your lawsuit, even though you are not a lawyer.

      IT IS THEREFORE ORDERED THAT:

      First: Follow All Court Rules. You must comply with the Federal Rules of

Civil Procedure as well as Local Rules for the Eastern District of Arkansas. Local

Rule 5.5(c)(2) provides that:

      It is the duty of any party not represented by counsel to promptly notify
      the Clerk and the other parties to the proceedings of any change in his
      or her address, to monitor the progress of the case, and to prosecute or
      defend the action diligently. A party appearing for himself/herself shall
      sign his/her pleadings and state his/her address, zip code, and telephone
      number. If any communication from the Court to a pro se plaintiff is
      not responded to within thirty (30) days, the case may be dismissed
      without prejudice. Any party proceeding pro se shall be expected to be
      familiar with and follow the Federal Rules of Civil Procedure.
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      Second: Pay the Filing Fee. Every civil case filed by a prisoner – including

this one – requires the plaintiff to pay a filing fee either at the beginning of the

lawsuit or, if he cannot afford to pay the entire fee in a lump sum, to apply for leave

to proceed in forma pauperis (“IFP”). If you are granted IFP status, the filing fee is

$350, which will be collected in installments from your prisoner account.

Importantly, the entire filing fee will be collected, even if your lawsuit is dismissed.

      You did not pay the required fee or file an IFP application. The Clerk of Court

is directed to enclose an IFP application along with a copy of this order. You must

return a completed IFP application, including an accompanying certificate and

calculation sheet, or pay the $402.00 filing and administrative fees within 30

days of the date of this order. Otherwise, the lawsuit will be dismissed.

      Third: Provide Addresses for Service. All defendants must be served with

the complaint and a summons within 90 days of the filing of a complaint. This

includes “John/Jane Doe” defendants. Any defendant who is not served within 90

days can be dismissed, without prejudice, from the lawsuit. If you are proceeding

IFP, the Court will order service of process on the defendants if it determines that

service is appropriate after screening your complaint as required by 28 U.S.C. §

1915A and/or 28 U.S.C. § 1915(e). However, it is your responsibility to identify

defendants, including “Doe” defendants, and to provide valid service addresses for
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defendants. You may send discovery requests, or use other means, to find valid

service addresses for defendants.

         Fourth: No Right to Appointed Counsel. This is a civil case. Unlike

criminal cases, there is no right to have an appointed lawyer in a civil case. If your

case proceeds to a jury trial, however, a lawyer may be appointed to assist you before

trial.

         Fifth: Do Not File Your Discovery Requests. Discovery requests, such as

interrogatories and requests for documents, are not to be filed with the Court.

Instead, discovery requests should be sent to counsel for the defendant (or directly

to the defendant if he or she is not represented by a lawyer). No discovery should

be sent to a defendant until after that defendant has been served with the complaint.

         Sixth: Do Not Send Documents to Court Except in Two Situations. You

may send documents or other evidence to the Court only if attached to a motion for

summary judgment or in response to a motion for summary judgment; or if the court

orders you to send documents or other evidence.

         Seventh: Provide a Witness List. If your case is set for a hearing or trial,

as your hearing or trial date approaches, you will be asked to provide a witness list.

After reviewing the witness list, the Court will make efforts to ensure the attendance

of all appropriate witnesses.
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IT IS SO ORDERED this 9th day of December, 2022.




                             UNITED STATES MAGISTRATE JUDGE
